        Case 1:18-cv-00712-MN Document 43 Filed 04/30/19 Page 1 of 3 PageID #: 409

                                                        WHITEFORD, TAYLOR & PRESTON LLC
                                                                                                                                                                              DELAWARE*
                                                                                                                                                                         DISTRICT OF COLUMBIA
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                                                                                     April 30, 2019


    BY ECF
    Hon. Maryellen Noreika, U.S.D.J.
    U.S. District Court, D. Del.
    844 N. King Street
    Wilmington, DE 19801

                                  Re: Perrong v. Liberty Power Corp., 1:18-cv-712 (MN)

    Dear Judge Noreika:

           I, and Aytan Y. Bellin of Bellin & Associates LLC, who is admitted pro hac
    vice, represent Plaintiff Andrew Perrong and the proposed Class in the above-
    entitled case. We are writing this letter pursuant to Your Honor’s April 1, 2019
    Order requiring each of the parties “to submit a letter to the Court identifying any
    district court or appellate court opinions issued since November 14, 2018 that have
    addressed the constitutionality of the [TCPA].” Doc. No. 41.

           We have identified one appellate court and two district court opinions that
    have been issued since November 14, 2018, that have addressed the
    constitutionality of the TCPA.

           In Schaevitz v. Braman Hyundai, Inc., 1:17 cv 23890 (KMM) (S.D. Fla.
    March 25, 2019) (attached hereto as Exhibit A), the Court ruled that the exception
    in the TCPA for calls made solely to collect a debt owed or guaranteed by the
    United States (the “Government-Debt Exception”), did not render the TCPA
    unconstitutional because even if that exception were invalid under the First
    Amendment, it would be severable from the remainder of the TCPA both because
    of the Supreme Court’s general case law on severability and because of an
    unambiguous severability clause that applies to the TCPA. Exhibit A at 18-19.
    The Schaevitz Court also concluded that it did not need to decide whether the


  **Whiteford, Taylor & Preston LLC is a limited liability company. Our offices outside of Delaware operate under a separate Maryland limited liability partnership, Whiteford, Taylor & Preston L.L.P.
 Case 1:18-cv-00712-MN Document 43 Filed 04/30/19 Page 2 of 3 PageID #: 410
April 30, 2019
Page 2


Government-Debt Exception is content based or content neutral because that
exception satisfies both strict and intermediate scrutiny. Id. at 19-21. The Court
held, among other things, that the Federal government has a compelling interest in
collecting debts owed to it and that the “Government-Debt Exception is narrowly
tailored permitting calls only to recipients who owe a debt to the federal
government, and thus would not result in an unlimited proliferation of the
exempted category of automated calls.” Id. at 20-21 (internal quotation marks
omitted).

       In Wijesinha v. Blugreen Vacations Unlimited, Inc., 1:19 cv 20073 (CMA)
(S.D. Fla. April 3, 2019) (attached hereto as Exhibit B), the Court held that it did
not need to decide the validity of the Government-Debt Exception under the First
Amendment because even if the Government-Debt Exception were
unconstitutional, “the proper action would be to sever the offensive provisions”
while allowing the rest of the TCPA to remain in force. Exhibit B at 8-9.
Significantly, the Wijesinha Court found the Third Circuit’s decision in Rappa v.
New Castle Cty., 18 F.3d 1043, 1073 (3rd Cir. 1994) — which is relied on by
Defendant Liberty Power Corp. here and stated that “the proper remedy for content
discrimination generally cannot be to sever the statute so that it restricts more
speech than it did before” — to be inapposite because Rappa found severance
“only an in inappropriate remedy ‘absent quite specific evidence of a legislative
preference for elimination of the exception.’” Id. at 9-10 (quoting Rappa, 18 F.3d
at 1073). The Wijesinha Court held that in context of the Government-Debt
Exception, “specific evidence of Congress’s legislative preference for elimination
of the exception is shown by the fact Congress enacted the TCPA without the
government-debt exception, which was not added until 2015.” Id. at 10.

       In American Association of Political Consultants, Inc. v. F.C.C., --- F.3d ---,
2019 WL 1780961 (4th Cir. Apr. 24, 2019) (attached hereto as Exhibit C), the
Fourth Circuit held that the Government-Debt Exception violated the First
Amendment, but that the Government-Debt Exception was severable from the
remainder of the TCPA, which would remain in force. Id. at **1-9. In making its
ruling, the Fourth Circuit relied on Supreme Court’s “strong preference for a
severance” when one portion of a statute is constitutionally infirm, and the fact that
a severance of the Government-Debt Exception “will not undermine the automated
call ban.” Id. at *9. The Fourth Circuit also relied on a severability provision in
47 U.S.C. § 608 — which applies to the TCPA and directs that “if any part of the
TCPA ‘is held invalid. . .the remainder shall not be affected’” — which “creates ‘a
  Case 1:18-cv-00712-MN Document 43 Filed 04/30/19 Page 3 of 3 PageID #: 411
April 30, 2019
Page 3


presumption that Congress did not intend the validity of the statute in question to
depend on the validity of the constitutionally offensive provision.’” Id. (quoting
Alaska Airlines v. Brock, 480 U.S. 678, 686 (1087)).

      I am available at the convenience of the Court should Your Honor have any
questions.

                                              Respectfully,

                                              /s/ Chad J. Toms
                                              Chad J. Toms, Esq. (#4155)
                                              Partner

CJT:trr
Encls.
cc: Aytan Bellin, Esquire, Esq. (by ECF)
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